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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF KENTUCKY
                          LONDON DIVISION

                                Electronically filed

DAVID WILSON, as Administrator                 )
of the Estate of Lisa Noble,                   )
Deceased,                                      )
             Plaintiff                         )
                                               )         Civil Action No. 6:17-cv-157-KKC
v.                                             )
                                               )
BEACON TRANSPORT, LLC,                         )
and TERRAN COOPER,                             )
         Defendants                            )


         NOTICE OF CANCELLATION OF VIDEO DEPOSITIONS

      Comes now the Plaintiff, by counsel, and gives notice that the following

depositions which were scheduled to take place on February 22, 2018 are

CANCELLED:

      1. Toby Curry (scheduled for 10:00 a.m.)

      2. Michael D. Anderson (scheduled for 1:00 p.m.)

      3. Tammy Saylor (scheduled for 2:00 p.m.); and

      4. Selena Moore (scheduled for 3:00 p.m.)



                                       Timothy D. Lange
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                                         By: s/D. Randall Jewell ___________
                                             ATTORNEYS FOR PLAINTIFF



                           CERTIFICATE OF SERVICE

      On February 20, 2018, I electronically filed this document through the ECF

system, which will send a notice of electronic filing to counsel of record.

      And my office e-mailed this document to:


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                                         By: s/D. Randall Jewell___________
                                             ATTORNEYS FOR PLAINTIFF




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